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 6
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 8
                            UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10

11
                                             Case No.
12   GABRIELA CABRERA, an
                                             Complaint For Damages And
13   individual,                             Injunctive Relief For:
14
                      Plaintiff,             1. VIOLATIONS OF THE
15                                              AMERICANS WITH DISABILITIES
     v.                                         ACT OF 1990, 42 U.S.C. §12181 et
16
                                                seq. as amended by the ADA
17                                              Amendments Act of 2008 (P.L. 110-
     GREAT AMERICAN CHICKEN
18                                              325).
     CORP, INC., a California
19   corporation; GAP III LLC, a
                                             2. VIOLATIONS OF THE UNRUH
     California limited liability company;
20                                              CIVIL RIGHTS ACT, CALIFORNIA
     and DOES 1-10, inclusive,
                                                CIVIL CODE § 51 et seq.
21

22
                     Defendants.

23

24          Plaintiff, GABRIELA CABRERA (“Plaintiff”), complains of Defendants
25   GREAT AMERICAN CHICKEN CORP, INC., a California corporation; GAP III
26   LLC, a California limited liability company; and Does 1-10 (“Defendants”) and
27   alleges as follows:
28   ////

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                                         COMPLAINT
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 1                                          PARTIES
 2         1.     Plaintiff is an adult California resident and became paraplegic as a
 3   result of childhood polio. Plaintiff is substantially limited in performing one or more
 4   major life activities, including but not limited to: walking, standing, and ambulating.
 5   As a result of these disabilities, Plaintiff requires a wheelchair to ambulate. With
 6   such disabilities, Plaintiff qualifies as a member of a protected class under the
 7   Americans with Disabilities Act (“ADA”), 42 U.S.C. §12102(2) as amended by the
 8   ADA Amendments Act of 2008 (P.L. 110-325) and the regulations implementing
 9   the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to
10   Defendant’s facility and prior to instituting this action, Plaintiff suffered from a
11   “qualified disability” under the ADA, including those set forth in this paragraph.
12         2.     Plaintiff is informed and believes and thereon alleges that Defendant
13   GAP III LLC, a California limited liability company, owned the property located at
14   723 West Arrow Highway, San Dimas, CA 91773 (“Property”) on or around
15   November 14, 2019.
16         3.     Plaintiff is informed and believes and thereon alleges that Defendant
17   GAP III LLC, a California limited liability company, owns the Property currently.
18         4.     Plaintiff is informed and believes and thereon alleges that Defendant
19   GREAT AMERICAN CHICKEN CORP, INC., a California corporation, owned,
20   operated, and controlled KFC #E791004 (“Business”) located at the Property on
21   November 14, 2019.
22         5.     Plaintiff is informed and believes and thereon alleges that Defendant
23   GREAT AMERICAN CHICKEN CORP, INC., a California corporation, owns,
24   operates, and controls the Business located at the currently.
25         6.     Plaintiff does not know the true names of Defendants, their business
26   capacities, their ownership connection to the Property and Business, or their relative
27   responsibilities in causing the access violations herein complained of, and alleges a
28   joint venture and common enterprise by all such Defendants. Plaintiff is informed
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                                           COMPLAINT
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 1   and believes that each of the Defendants herein, including Does 1 through 10,
 2   inclusive, is responsible in some capacity for the events herein alleged, or is a
 3   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
 4   when the true names, capacities, connections, and responsibilities of the Defendants
 5   and Does 1 through 10, inclusive, are ascertained.
 6                               JURISDICTION AND VENUE
 7          7.     This Court has subject matter jurisdiction over this action pursuant
 8   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 9          8.     This court has supplemental jurisdiction over Plaintiff’s non-federal
10   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
11   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
12   federal ADA claims in that they have the same nucleus of operative facts and
13   arising out of the same transactions, they form part of the same case or controversy
14   under Article III of the United States Constitution.
15          9.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
16   real property which is the subject of this action is located in this district and because
17   Plaintiff's causes of action arose in this district.
18                                FACTUAL ALLEGATIONS
19          10.    Plaintiff went to the Business on or about November 14, 2019 for the
20   dual purpose of having lunch and to confirm that this public place of
21   accommodation is accessible to persons with disabilities within the meaning federal
22   and state law.
23          11.    The Business is a facility open to the public, a place of public
24   accommodation, and a business establishment.
25          12.    Places of public accommodation like the Business offer a variety of
26   goods, services, facilities, privileges, advantages, and/or accommodations to its
27   patrons.
28          13.    Unfortunately, although facilities serving the Business are reserved for
                                                  3
                                             COMPLAINT
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 1   patrons, the Defendants fail to provide these facilities in an accessible manner for
 2   individuals with disabilities that complied with the 2010 Americans with Disabilities
 3   Act Accessibility Guidelines (“ADAAG”) on November 14, 2019.
 4         14.    At that time, instead of having architectural barrier free facilities for
 5   patrons with disabilities, Plaintiff experienced the following at the Business and
 6   Property that are violations of the ADAAG: point of sale machines that are
 7   positioned in an inaccessible manner for a disabled individual to access from either a
 8   forward or side approach (Section 308.2; 308.3); and, a sales counter whose height
 9   exceeds the maximum allowed (Section 904.3.3).
10         15.    Subject to the reservation of rights to assert further violations of law
11   after a site inspection found infra, Plaintiff asserts there are additional ADA
12   violations which affect her personally.
13         16.    Plaintiff is informed and believes and thereon alleges Defendants had
14   no policy or plan in place to make sure that there was compliant accessible facilities
15   at the Business that were reserved for persons with disabilities prior to November
16   14, 2019.
17         17.    Plaintiff is informed and believes and thereon alleges Defendants have
18   no policy or plan in place to make sure that the designated facilities for persons with
19   disabilities comport with the ADAAG.
20         18.    Plaintiff personally encountered these barriers. The presence of these
21   barriers related to Plaintiff’s disability denies Plaintiff her right to enjoy accessible
22   conditions at public place of accommodation and invades legally cognizable
23   interests created under the ADA.
24         19.    The conditions identified supra in paragraph 14 are necessarily related
25   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
26   the major life activities of walking, standing, and ambulating; and because the
27   enumerated conditions relate to the use and condition of the accessible service
28   counter and point-of-sale machines serving the Business.
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                                            COMPLAINT
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 1          20.      As an individual with a mobility disability who requires a wheelchair,
 2   Plaintiff has a keen interest in whether public accommodations have architectural
 3   barriers that impede full accessibility to those accommodations by individuals with
 4   mobility impairments.
 5          21.      Plaintiff is being deterred from patronizing the Business and its
 6   accommodations on particular occasions, but intends to return to the Business for the
 7   dual purpose of availing herself of the goods and services offered to the public and
 8   to ensure that the Business ceases evading its responsibilities under federal and state
 9   law.
10          22.      Upon being informed that the public place of accommodation has
11   become fully and equally accessible, she will return within 45 days as a “tester” for
12   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
13   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
14          23.      As a result of her difficulty experienced because of the inaccessible
15   condition of the facilities of the Business, Plaintiff was denied full and equal access
16   to the Business and Property.
17          24.      The Defendants have failed to maintain in working and useable
18   conditions those features required to provide ready access to persons with
19   disabilities.
20          25.      The violations identified above are easily removed without much
21   difficulty or expense. They are the types of barriers identified by the Department of
22   Justice as presumably readily achievable to remove and, in fact, these barriers are
23   readily achievable to remove. Moreover, there are numerous alternative
24   accommodations that could be made to provide a greater level of access if complete
25   removal were not achievable.
26          26.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
27   alleges, on information and belief, that there are other violations and barriers in the
28   site that relate to her disability. Plaintiff will amend the complaint, to provide proper
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                                             COMPLAINT
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 1   notice regarding the scope of this lawsuit, once she conducts a site inspection.
 2   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 3   related to her disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 4   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 5   have all barriers that relate to her disability removed regardless of whether she
 6   personally encountered them).
 7         27.    Without injunctive relief, Plaintiff will continue to be unable to fully
 8   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 9                               FIRST CAUSE OF ACTION
10    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
11     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
12                                        (P.L. 110-325)
13         28.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
14   above and each and every other paragraph in this Complaint necessary or helpful to
15   state this cause of action as though fully set forth herein.
16         29.    Under the ADA, it is an act of discrimination to fail to ensure that the
17   privileges, advantages, accommodations, facilities, goods, and services of any place
18   of public accommodation are offered on a full and equal basis by anyone who owns,
19   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
20   Discrimination is defined, inter alia, as follows:
21                a.     A failure to make reasonable modifications in policies, practices,
22                       or procedures, when such modifications are necessary to afford
23                       goods, services, facilities, privileges, advantages, or
24                       accommodations to individuals with disabilities, unless the
25                       accommodation would work a fundamental alteration of those
26                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                b.     A failure to remove architectural barriers where such removal is
28                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
                                                 6
                                            COMPLAINT
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 1                         defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 2                         Appendix "D".
 3                   c.    A failure to make alterations in such a manner that, to the
 4                         maximum extent feasible, the altered portions of the facility are
 5                         readily accessible to and usable by individuals with disabilities,
 6                         including individuals who use wheelchairs, or to ensure that, to
 7                         the maximum extent feasible, the path of travel to the altered area
 8                         and the bathrooms, telephones, and drinking fountains serving
 9                         the area, are readily accessible to and usable by individuals with
10                         disabilities. 42 U.S.C. § 12183(a)(2).
11         30.       A public accommodation must maintain in operable working condition
12   those features of its facilities and equipment that are required to be readily accessible
13   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
14         31.       Here, the failure to ensure that accessible facilities were available and
15   ready to be used by Plaintiff is a violation of law.
16         32.       Given its location and options, Plaintiff will continue to desire to
17   patronize the Business but she has been and will continue to be discriminated against
18   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
19   the barriers.
20                                SECOND CAUSE OF ACTION
21       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
22          33.      Plaintiff re-alleges and incorporates by reference all paragraphs alleged
23   above and each and every other paragraph in this Complaint necessary or helpful to
24   state this cause of action as though fully set forth herein.
25          34.      California Civil Code § 51 et seq. guarantees equal access for people
26   with disabilities to the accommodations, advantages, facilities, privileges, and
27   services of all business establishments of any kind whatsoever. Defendants are
28   systematically violating the UCRA, Civil Code § 51 et seq.
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                                              COMPLAINT
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 1          35.   Because Defendants violate Plaintiff’s rights under the ADA, they also
 2   violated the UCRA and are liable for damages. (Civ. Code § 51(f), 52(a).) These
 3   violations are ongoing.
 4          36.   Plaintiff is informed and believes and thereon alleges that Defendants’
 5   actions constitute discrimination against Plaintiff on the basis of a disability, in
 6   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
 7   previously put on actual or constructive notice that the Business is inaccessible to
 8   Plaintiff. Despite this knowledge, Defendants maintain their premises in an
 9   inaccessible form, and Defendants have failed to take actions to correct these
10   barriers.
11                                          PRAYER
12    WHEREFORE, Plaintiff prays that this court award damages provide relief as
13   follows:
14          1.    A preliminary and permanent injunction enjoining Defendants from
15   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
16   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
17   respect to its operation of the Business; Note: Plaintiff is not invoking section 55, et
18   seq, of the California Civil Code and is not seeking injunctive relief under the
19   Disabled Persons Act (Cal. C.C. §54) at all;
20          2.    An award of actual damages and statutory damages of not less than
21   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
22          3.    An additional award of $4,000.00 as deterrence damages for each
23   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
24   LEXIS 150740 (USDC Cal, E.D. 2016); and,
25          4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
26   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
27   ////
28   ////
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                                            COMPLAINT
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 1                               DEMAND FOR JURY TRIAL
 2         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 3   raised in this Complaint.
 4

 5   Dated: April 29, 2020            MANNING LAW, APC
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 7                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
 8                                       Attorney for Plaintiff
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